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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11                                                      No. 2:24-cv-00261-TLN-KJN
      IN RE: STEVEN WAYNE BONILLA
12                                                      No. 2:24-cv-00262-TLN-KJN

13                                                      No. 2:24-cv-00263-TLN-KJN

14                                                      No. 2:24-cv-00264-TLN-KJN

15                                                      No. 2:24-cv-00265-TLN-KJN

16                                                      No. 2:24-cv-00266-TLN-KJN

17                                                      No. 2:24-cv-00307-TLN-KJN

18                                                      No. 2:24-cv-00308-TLN-KJN

19                                                      No. 2:24-cv-00309-TLN-KJN

20                                                      No. 2:24-cv-00310-TLN-KJN

21                                                      ORDER

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23

24          Plaintiff Steven Wayne Bonilla is a state prisoner proceeding without counsel in the

25   above-captioned civil actions. On November 29, 2018, the Court declared Plaintiff a vexatious

26   litigant and ordered the Clerk of the Court not to file or assign a civil case number to any

27   proposed habeas corpus petition or civil action related to Plaintiff’s criminal conviction in

28   Alameda County. (See Bonilla v. Fresno County, Case No. 2: 18-cv-2544-TLN-KJN, ECF No.
                                                        1
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 1   13). On June 14, 2023, the Court modified its vexatious litigant Order and directed the Clerk of

 2   the Court to open a new case for each attempted new pleading and assign it to the undersigned for

 3   review. (Id. at ECF No. 26.) If the Court determines the new filing is related to Plaintiff’s

 4   Alameda County criminal conviction, the case will be ordered dismissed and closed. (Id.)

 5          The Court has reviewed the complaints/petitions filed in the above-captioned cases and

 6   finds they are related to Plaintiff’s Alameda County criminal conviction.

 7          Accordingly, the complaints/petitions in Case Nos. 2:24-cv-00261, 2:24-cv-00262, 2:24-

 8   cv-00263, 2:24-cv-00264, 2:24-cv-00265, 2:24-cv-00266, 2:24-cv-00307, 2:24-cv-00308, 2:24-

 9   cv-00309, and 2:24-cv-00310 are hereby DISMISSED. The Clerk of the Court is directed to

10   close these cases. No further filings will be accepted.

11          IT IS SO ORDERED.

12           Dated:    February 20, 2024
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16                                                     Troy L. Nunley
17                                                     United States District Judge

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